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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

     UNITED STATES OF AMERICA,                          CASE NO. 3:18-CR-032

                        Plaintiff,                      JUDGE THOMAS M. ROSE

         V.                                             VERDICT


     STERLING H. ROBERTS,

                       Defendant.


                                           Count One

       On this �3�day of March 2022, we, the jury, in the above-entitled action, hereby FIND
defendant STERLING H. ROBERTS:

        ✓ Guilty
       ---
       ___ Not guilty

of Cyberstalking placing a person in reasonable fear of death or serious bodily injury, as charged
in Count One of the Superseding Indictment.
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